 1   Kyle A. Kinney, Esq. [Bar No. 027189]
     LAW OFFICES OF KYLE A. KINNEY, PLLC
 2   1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
 3   Phone: [480]269-7077
     Fax: [480] 614-9414
 4   Email: kyle@kinneylaw.net
 5   Attorney for Debtors;
 6   RONALD AND ARLENE SILVER

 7                     IN THE UNITED STATES BANKRUPTCY COURT
 8                             FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                           Chapter 11
10
     RONALD AND ARLENE SILVER, husband                Case No. 2:17-bk-07624-SHG
11   and wife,
12                                                    NOTICE OF LODGING ORDER
                                 Debtors.             GRANTING APPLICATION FOR
13                                                    ORDER PURSUANT TO 11 U.S.C.
                                                      §§ 327(a) AND 1107 AUTHORIZING
14
                                                      THE EMPLOYMENT AND
15                                                    RETENTION OF JOEL L. RUBEN
                                                      AS CPA FOR DEBTORS
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17            NOTICE IS HEREBY GIVEN pursuant to Rule 9022-1(b), Arizona Local Rules of
18   Bankruptcy Procedures, that the Debtors have lodged an Order regarding their Application
19   to Employ Certified Public Accountant Joel L. Ruben in the form attached hereto.
20
              DATED this 28th day of June 2018.
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22
                                                   Law Offices of Kyle A. Kinney, PLLC:
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24
                                                   By:/s/ Kyle A. Kinney
25                                                     Kyle A. Kinney (027189)
                                                       1717 N. 77th Street, Suite 6
26                                                     Scottsdale, AZ 85257
                                                       kyle@kinneylaw.net
27                                                     Attorney for Debtors
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 2   This is to certify that the foregoing was
     e-filed on this 28th day of June 2018, in the
 3   United States Bankruptcy Court,
     COPY of the foregoing served via electronic
 4   Notification that same date on:

 5   Office of the U.S. Trustee                            Lori L. Winkelman
     230 North First Avenue, Suite 204                     Amelia B. Valenzuela
 6   Phoenix, AZ 85003-1706                                Quarles & Brady LLP
                                                           Renaissance One
 7   RENEE SANDLER SHAMBLIN                                Two North Central Avenue
     Office of the U. S. Trustee                           Phoenix, Arizona 85004-2391
 8   230 North First Avenue, Suite 204                     lori.winkelman@quarles.com
     Phoenix, AZ 85003-1706                                amelia.valenzuela@quarles.com
 9                                                         Attorneys for Capital One, NA as servicer
     Kim Lepore                                            forGreenpoint Mortgage Funding, Inc.
10   klepore@wrightlegal.net
     Jamin S. Neil
     jneil@wrightlegal.net                                 Joseph J. Tirello, Jr., Esq.
11                                                         ZIEVE, BRODNAX & STEELE, LLP
     WRIGHT, FINLAY & ZAK, LLP
     16427 N. Scottsdale Road, Suite 300                   3550 North Central Avenue, Suite 625
12
     Scottsdale, Arizona 85254                             Phoenix, AZ 85012
13   Attorneys for Nissan                                  E-mail: Jtirello@zbslaw.com
                                                           Attorneys for U.S. Bank National Association,
14   ALDRIDGE PITE, LLP                                    as Trustee for Lehman Brothers Small Balance
     ecfazb@aldridgepite.com
     4375 Jutland Drive, Suite 200                         Commercial Mortgage Pass-Through
15                                                         Certificates,
     P.O. Box 17933
16   San Diego, CA 92177-0933                              Series 2007-3
     Attorneys for Ocwen Loan Servicing
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19
     By:/s/ Paula D. Hillock
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 9                     IN THE UNITED STATES BANKRUPTCY COURT
10                             FOR THE DISTRICT OF ARIZONA
11
     In Re:                                            Chapter 11
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     RONALD AND ARLENE SILVER, husband                 Case No. 2:17-bk-07624-SHG
13
     and wife,
14                                                       ORDER RE APPLICATION FOR
                                Debtors.                 ORDER PURSUANT TO 11 U.S.C.
15                                                      §§ 327(a) AND 1107 AUTHORIZING
16                                                           THE EMPLOYMENT AND
                                                         RETENTION OF JOEL L. RUBEN
17                                                            AS CPA FOR DEBTORS
18            This matter having come before this Court of Debtors’ Application For Order
19   pursuant to 11 U.S.C. §§ 327(A) And 1107 Authorizing The Employment And Retention
20   Of Joel L Ruben as CPA for Debtors (Docket Entry No. 41), and the deadline to file
21   objections having passed with no objections having been received, and good cause
22   appearing,
23            IT IS HEREBY ORDERED, approving the employment of Joel L. Ruben as the
24   Certified Public Accountant for the Debtors in this Chapter 11 proceeding.
25            Approval of employment of a professional person DOES NOT automatically
26   approve any fee arrangement set forth in the application or any attachments thereto. No fees
27   are pre-approved by the court. Any request for a professional fee must be made separately,
28   by a detailed application supporting the request, notice must be given to creditors and other
 1   parties-in-interest, and the court must have an opportunity to review any objections which
 2   any party may have. The court may also consider the application in the absence of any
 3   objections, and may adjust the fees according to the merits of the particular case. 11 U.S.C.
 4   §§ 327, 328, 329, 330, and 331.
 5                        SIGNED AND DATED AS SET FORTH ABOVE
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